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                                   UNITED STATES DISTRICT COURT
                                   WESTERN DISTRICT OF MICHIGAN
                                        SOUTHERN DIVISION

MELISSA DRAKE;
MADELYN DeJUSTO; and
DOUGLAS A. SPRINGSTEAD,
                                                        Case No. 1:10cv185
                Plaintiffs,
v.                                                      HON. ROBERT J. JONKER

BRIANNA SCOTT,

            Defendant.
_______________________________/

                                       CASE MANAGEMENT ORDER

          IT IS HEREBY ORDERED:

 Trial Date and Time                                                              MAY 24, 2011
                                                                                     8:30 a.m.
 Place:      699 Ford Federal Building, 110 Michigan, NW
              Grand Rapids, MI 49503
 Before:     Judge Robert J. Jonker
 Jury or Non Jury                                                                          Jury
 Estimated Length of Trial                                                               4 days
 Stipulations to Join Parties or Amend Pleadings                                   JUNE 1, 2010
 Rule 26(a)(1) Disclosures (including lay witnesses)      Plaintiff:               JUNE 1, 2010
                                                         Defendant:                JUNE 1, 2010
 Disclose Name, Address, Area of Expertise and            Plaintiff:              JULY 1, 2010
 a short summary of expected testimony                   Defendant:             AUGUST 1, 2010
 of Expert Witnesses (Rule 26(a)(2)(A)
 Disclosure of Expert Reports                              Plaintiff:           AUGUST 1, 2010
 (Rule 26(a)(2)(B))                                      Defendant:          SEPTEMBER 1, 2010
                                                   Rebuttal Reports:
 Completion of Discovery                                                     NOVEMBER 18, 2010
 Dispositive Motions                                                         DECEMBER 16, 2010
 Interrogatories will be limited to:                                                        25
 (Single Part Questions)
 Depositions will be limited to:                                                            10
 (Fact Witnesses Per Party)
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 Requests for Admission will be limited to:                                                        per side
 (Per Side)
 Settlement Conference                                          Date:                 APRIL 18, 2011
                                                                Time:                        2:00 p.m.
                                                               Before      Hon. Hugh W. Brenneman, Jr.
 Final Pretrial Conference                                      Date:                       MAY 2, 2011
 Before Judge Robert J. Jonker                                  Time:                         4:00 p.m.
 Note Preparation Details within this Order
 ADR: Counsel shall jointly notify the Court of their preference for
 ADR by efiling a Notice of Preference for ADR no later than:                              JUNE 15, 2010


1.     TRIAL DATE AND SETTING: This case is scheduled for trial before the Honorable Robert J.
       Jonker, 699 Ford Federal Building, 110 Michigan, NW, Grand Rapids, Michigan, as set forth above.

2.     JOINDER OF PARTIES AND AMENDMENTS OF PLEADINGS: All stipulations for joinder of
       parties and all stipulations to amend the pleadings must be filed by the date set forth in the table
       above to ensure amendment as a matter of consent under Rule 15(a)(2). Proposed amendments after
       the noted date are by leave of court.

3.     DISCLOSURES AND EXCHANGES Deadlines for exchange of Rule 26(a)(1) disclosures, names
       of lay witnesses, identification of experts, production of documents, and disclosure of expert reports
       under Rule 26(a)(2), if applicable, are ordered as set forth in the table above.

4.     DISCOVERY: All discovery proceedings shall be completed no later than the date set forth in the
       table above, and shall not continue beyond this date. All interrogatories, requests for admissions,
       and other written discovery requests must be served no later than thirty days before the close of
       discovery. All depositions must be completed before the close of discovery. Interrogatories will be
       limited as set forth in the table above. Depositions will be limited as set forth in the table above.
       There shall be no deviations from this order without prior approval of the court upon good cause
       shown. Time limitations for depositions set forth in Rule 30(d)(1) apply to this case.

5.     MOTIONS:

       a.      Non-dispositive motions shall be filed in accordance with W.D. Mich. LCivR. 7.3. They
               will be referred to Magistrate Judge Hugh W. Brenneman, Jr. in Grand Rapids, Michigan,
               pursuant to 28 U.S.C. § 636(b)(1)(A). In accordance with 28 U.S.C. § 471, et seq., it is the
               policy of this Court to prohibit the consideration of discovery motions unless accompanied
               by a certification that the moving party has made a reasonable and good faith effort to reach
               agreement with opposing counsel on the matters set forth in the motion.

       b.      Dispositive motions shall be filed in accordance with W.D. Mich. LCivR 7.2 by the date set
               forth in the table above. If dispositive motions are based on supporting documents such as
               depositions or answers to interrogatories, only those excerpts which are relevant to the


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              motion shall be filed. The case manager will notify counsel of the date for oral argument.


      c.      The parties are strongly encouraged to file motions in limine at least fourteen (14) calendar
              days prior to the final pretrial conference, but in no event shall they be filed later than the
              date for the submission of the proposed Final Pretrial Order.

6.    ALTERNATIVE DISPUTE RESOLUTION: No form of ADR will be ordered at this time. Counsel
      shall jointly notify the Court of their preference for ADR no later than the date listed above.

7.    SETTLEMENT CONFERENCE: The parties are under an ongoing obligation to engage in good
      faith settlement negotiations. A settlement conference has been scheduled at the date and time set
      forth above. Unless excused upon a showing of good cause, the attorney who is to conduct the trial
      shall attend the settlement conference. Counsel attending the settlement conference must be
      accompanied by a representative of the party with full settlement authority, unless excused upon a
      showing of good cause. Any party may request the magistrate judge to conduct an earlier settlement
      conference.

      Three business days before the conference, each attorney shall submit a confidential letter
      concerning settlement. A copy need not be provided to any other party. All information in the
      settlement letter shall remain confidential and will not be disclosed to any other party without the
      approval of the writer. The confidential settlement letter shall set forth: (a) the name and title of
      the party representative who will be present at the settlement conference, with counsel’s certification
      that the representative will have full authority to settle, without the need to consult with any other
      person; (b) a very brief explanation of the nature of the case, particularly identifying any
      impediments to settlement; (c) a history of settlement negotiations to date, including all offers,
      demands and responses; (d) the policy limits of any relevant insurance coverage; (e) that party’s
      suggestions concerning the most productive approach to settlement; (f) any other matter that counsel
      believes will improve the chances of settlement.

      All settlement letters shall be delivered or mailed directly to the judge conducting the conference.
      They shall not be directed to the office of the Clerk of the Court.

8.    FINAL PRETRIAL CONFERENCE: A final pretrial conference is scheduled at the date and time
      set forth above.

9.    PREPARATION OF PROPOSED FINAL PRETRIAL ORDER: A proposed pretrial order, entitled
      “Final Pretrial Order” shall be prepared jointly by counsel and filed three (3) business days prior
      to the final pretrial conference in the following form:

              A final pretrial conference was held on the ___ day of ______________. Appearing for the
              parties as counsel were:

                       (List the counsel who will attend the pretrial conference.)

              1.       Exhibits: The following exhibits will be offered by the plaintiff and the defendant:



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             (List separately for each party all exhibits, including demonstrative evidence and
             summaries of other evidence, by name and number. Plaintiff shall use numbers;
             defendant shall use letters. Indicate with respect to each exhibit whether and for
             what reason its admissibility is challenged. Exhibits expected to be used solely for
             impeachment purposes need not be numbered or listed until identified at trial.
             Failure to list an exhibit required to be listed by this order will result, except upon
             a showing of good cause, in a determination of non-admissibility at trial. Objections
             not contained in the Pretrial Order, other than objections under Evidence Rule 402
             or 403, shall be deemed waived except for good cause shown. See Fed. R. Civ. P.
             26(a)(3)(B).)

       2.    Uncontroverted Facts: The parties have agreed that the following may be accepted
             as established facts:

             (State in detail all uncontroverted facts.)

       3.    Controverted Facts and Unresolved Issues: The factual issues remaining to be
             determined and issues of law for the Court’s determination are:

             (Set out each issue which is genuinely controverted, including issues on the merits
             and other matters which should be drawn to the Court’s attention.)

       4.    Witnesses:

             a.      Non-expert witnesses to be called by the plaintiff and defendant, except
                     those who may be called for impeachment purposes only, are:

                     (List names, addresses, and telephone numbers of all non-experts who will
                     testify. Indicate whether they are expected to testify in person, by
                     deposition videotape, or by reading of their deposition transcript. Indicate
                     all objections to the anticipated testimony of each non-expert witness. For
                     each witness listed, indicate whether the witness will be called or merely
                     may be called to testify.)

             b.      Expert witnesses to be called by the plaintiff and defendant, except those
                     who may be called for impeachment purposes only, are:

                     (List names, addresses, and telephone numbers of all experts who will
                     testify, providing a brief summary of their qualifications and a statement of
                     the scientific or medical field(s) in which they are offered as experts.
                     Indicate whether they will testify in person, by deposition videotape, or by
                     reading of their deposition transcript. Indicate all objections to the
                     qualifications or anticipated testimony of each expert witness.)

                     It is understood that, except upon a showing of good cause, no witness
                     whose name and address does not appear in the lists required by
                     subsections (a) and (b) will be permitted to testify for any purpose, except
                     impeachment, if the opposing party objects. Any objection to the use of a

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                                  deposition under Fed. R. Civ. P. 32(a) not reflected in the Pretrial Order
                                  shall be deemed waived, except for good cause shown.

                 5.      Depositions and Other Discovery Documents:

                         All depositions, answers to written interrogatories, and requests for admissions, or
                         portions thereof, that are expected to be offered in evidence by the plaintiff and the
                         defendant are:

                         (Designate portions of depositions by page and line number. Designate answers to
                         interrogatories and requests for admissions by answer or request number.
                         Designation need not be made of portions that may be used, if at all, as
                         impeachment of an adverse party. Indicate any objections to proposed deposition
                         testimony, answers to interrogatories, and admissions.)

                 6.      Length of Trial: Counsel estimate the trial will last approximately _____ full days,
                         allocated as follows: _____ days for plaintiff’s case; _____ days for defendant’s
                         case; _____ days for other parties.

                 7.      Prospects of Settlement: The status of settlement negotiations is:

                         (Indicate progress toward settlement and issues that are obstacles to settlement.)

         The proposed Final Pretrial Order will be signed by all counsel, signifying acceptance, and upon
approval by the Court, with such additions as are necessary, will be signed by the Court as an order reflecting
the final pretrial conference.

10.     MATTERS TO BE CONSIDERED AT THE FINAL PRETRIAL CONFERENCE: At the final
        pretrial conference, the parties and the Court will formulate a plan for trial, including a program for
        facilitating the admission of evidence, consider the prospects of settlement, and consider such other
        matters as may aid in the trial or other disposition of the action. Unless excused by the court in
        advance upon a showing of good cause, the attorney who is to conduct the trial shall attend the final
        pretrial conference and shall be accompanied by the individual parties or representative of the party
        (other than the attorney himself or herself) with full settlement authority.

        Three (3) business days prior to the final pretrial conference, exhibit books shall be submitted to the
        Court. Exhibits shall be clearly identified. Counsel for the parties shall provide three (3) sets of
        notebooks with the exhibits to the Court. The exhibits should be divided and tabbed with the exhibit
        numbers. A list of the exhibits (Attachment, Exhibit 1) should be located in the front of the
        notebooks. One set of notebooks is for the Court, one set is for the deputy clerk in the courtroom,
        one set is for the use of the witnesses. When bringing a document to the attention of the Court and
        witnesses, counsel asking the questions should refer to the notebook volume and exhibit number.

        Counsel shall arrange to have all documentary exhibits digitized for projection on the large screen
        in the courtroom. Counsel are responsible for projection of the exhibits using their own computers
        and software compatible with the Court’s electronic system. Scheduling and questions concerning
        the use of         electronic projection is accomplished by sending an e-mail to
        courttech@miwd.uscourts.gov, or by calling (616) 732-2757. Information concerning the features

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        of the electronic evidence projection in the courtroom is available at the court’s website:
        www.miwd.uscourts.gov (click on Courtroom Technology link).

11.     PREPARATION FOR TRIAL:

        A.       Each party shall file the following not later than three business days prior to the
                 commencement of the final pretrial conference:

                 i.      Proposed voir dire questions. The Court will ask basic voir dire questions. Counsel
                         for the parties will be permitted to question prospective jurors. Questioning by
                         counsel shall not be repetitive of questions asked by the Court or of questions asked
                         in the juror questionnaire.

                 ii.     Trial briefs.

        B.       The parties shall jointly file the following not later than three business days prior to the
                 final pretrial conference:

                 i.      Proposed jury instructions. This Court uses Western District of Michigan’s
                         Standardized Jury Instructions for the preliminary and final instructions. A copy
                         of these instructions is available on the Court’s website (www.miwd.uscourts.gov).1
                         The court generally uses O’Malley, Grenig & Lee’s Federal Jury Practice and
                         Instructions for those not covered in the standard set. Standard instructions may be
                         submitted by number. Other non-standard instructions shall be submitted in full
                         text, one per page, and include reference to the source of each requested
                         instruction. Indicate objections, if any, to opposing counsel’s proposed instructions,
                         with a summary of the reasons for each objection.

         The parties are required to submit a copy of the joint statement of case and statement of the elements,
joint proposed jury instructions, and joint proposed verdict form(s) compatible with IBM computer/Corel
WP 9.0 by e-mail to Judge Jonker’s Judicial Assistant, Yvonne Carpenter at
Yvonne_Carpenter@miwd.uscourts.gov.

                 ii.     A joint statement of the case and statement of the elements that must be proven by
                         each party. If the parties are unable to agree on the language of a joint statement of
                         the case, then separate, concise, non-argumentative statements shall be filed. The
                         statement(s) of the case will be read to the prospective jurors during jury selection.
                         The elements that must be proven by each party will be included in the preliminary
                         jury instructions.




        1
          The instructions are located within the Electronic Filing section, and you will need to
use your E-Filing Login and Password to access them. Once you have logged into the
electronic filing section of the website, click Utilities, then select WDMI Attorney References and
you will see the link to the Standard Civil Jury Instructions.

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Dated:    May 18, 2010              /s/ Robert J. Jonker
                                    ROBERT J. JONKER
                                    UNITED STATES DISTRICT JUDGE




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                         ATTACHMENT - EXHIBIT 1

 Exhibit                                 Offered                Date      Date
                  Description                      Objection
No./Letter                                 By                  Offered   Received




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